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                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA,          )
                                   )          1:02-cr-5301 OWW
                    Plaintiff,     )
     vs.                           )
                                   )          ORDER FOR RETURN OF
JAMES EDWARD LEE,                  )          PASSPORT
                                   )
                    Defendants.    )
___________________________________)


     The above-named defendant having been sentenced and having

surrendered to the Bureau of Prisons as directed,

     IT IS HEREBY ORDERED that the Passport posted in this matter

be returned to the defendant or his representative.


IT IS SO ORDERED.

Dated: March 3, 2006                   /s/ Oliver W. Wanger
emm0d6                            UNITED STATES DISTRICT JUDGE
